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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  WESTERN DIVISION


JAMES E. VOLLMER,                                         Civ. No. 20-   5082

               Plaintiff,
                                                 COMPLAINT AND JURY DEMAND
vs.




UNITED SEATING AND MOBILITY,
L.L.C. d/b/aNUMOTION; ATG-
COLORADO, INC. d/b/a NUMOTION,

               Defendants.




         COMES NOW Plaintiff James E. Vollmer, by and through his counsel of record, for his

Complaint and causes of action against Defendants United Seating and Mobility, L.L.C., doing


business as Numotion, and ATG-Colorado, Inc., doing business as Numotion, (collectively


"Numotion" or "Defendants"), states and alleges as follows:


                                            PARTIES

         1. Plaintiff James E. Vollmer, ("James") is, and at all times relevant to this action


was a citizen and resident of Piedmont, Meade County, South Dakota.


         2. Defendant United Seating and Mobility, L.L.C. ("United"), is Missouri Limited

Liability Corporation with a principal place of business located in Hazelwood, Missouri. United

transacts business globally, across North America, and in South Dakota under the business name


"Numotion." Upon information and belief, at all times relevant to this action, United transacted


business as Numotion in Rapid City, Pennington County, South Dakota.


         3. Defendant ATG-Colorado, Inc. ("ATG") is a Connecticut Corporation with a



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principal place of business located in Rocky Hills, Connecticut. ATG transacts business


globally, across North America, and in South Dakota under the business name "Numotion."


Upon information and belief, at all times relevant to this action, ATG transacted business as


Numotion in Rapid City, Pennington County, South Dakota.


       4. Defendants collectively are registered to do business under the laws of South


Dakota as Numotion.


       5. At all relevant times herein, Numotion sold, distributed, leased, prepared, labeled,


inspected, assembled, tested, and/or maintained the subject wheelchair provided to James, by and


through its agents and/or employees.


        6. At all relevant times herein, Defendants failed to warn, and/or inadequately


warned, James of the dangers and/or hazards associated with the use, misuse, or unintended use


of the subject wheel chair as sold, lent, leased, distributed, prepared, inspected, assembled, tested,


and/or maintained by Defendants.


                                     JURISDICTION AND VENUE

        7. This District Court has original jurisdiction over this matter under 28 U.S.C. §


1332(a)(l) because this case involves a dispute by and between citizens of diverse states and the

amount in controversy exceeds $75,000, exclusive of interest and costs.


        8. Venue is proper in the United States District Court for the District of South

Dakota, Western Division, pursuant to 28 U.S.C. § 1391(b) because the Defendants do business


within the District, the events giving rise to the claim occurred in the District, and Defendants are


subject to personal jurisdiction within the District.

                                       GENERAL ALLEGATIONS

        9. James incorporates the allegations in the preceding paragraphs as if fully set forth




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herein.


          10. James graduated from Rapid City Stevens High School in 2007 and enrolled at

University of Jamestown, in Jamestown, North Dakota that fall.


          11. James was a member of the University' s football team.


          12. In addition to playing football, James was a pole vaulter on the University's track


team.



          13. On December 1, 2010, James suffered a catastrophic injury while practicing pole-


vaulting resulting in permanent paralysis to his lower body.


          14. James underwent spinal cord rehabilitation therapy at Craig Hospital in Colorado

in hopes of maximizing his recovery and regaining as much physical ability and independence as


possible following his pole-vaulting injury.

          15. James was provided a loaner wheelchair from Craig Hospital in February of 2011,


until a personalized wheelchair arrived later that year.


          16. The personalized wheelchair was a Quickie GT. The Quickie GT arrived later in

2011 and James used this wheelchair for 5-6 years as directed by staff at the Craig Hospital.

          17. After using his Quickie GT for 5 to 6 years, James ordered a new wheelchair from


Numotion, in 2016. The new wheelchair and the wheelchair that is the subject of this lawsuit is a

Quickie 5R ("Quickie 5R" or the "new wheelchair"). The Quickie 5R arrived in approximately

September of 2017.

          18. James did not use the Quickie 5R exclusively upon arrival. Rather, as directed


and trained by staff at the Craig Hospital, James eased into the wheelchair gradually while still

using his old wheelchair on a primary basis. This transition period lasted for several months




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until James was using the Quickie 5R more and more each day. By the end of November to


early December of 2017, James was using the new wheelchair on a full-time basis.


        19. After James began to use his new wheelchair on a full-time basis in late 2017 and


into early 2018, he continued to take his new wheelchair to Numotion's facility in Rapid City for

inspections, testing, repairs, adjustments, and maintenance. During the entire time period of


owning the new wheelchair, James continuously relied on Numotion to properly inspect, test,


adjust, repair, and maintain his new wheelchair, and he also relied on Numotion to warn James


of the unreasonable dangers or risks of hazard associated with the use or misuse of his new


wheelchair as delivered, assembled, inspected, tested, adjusted, repaired, and/or maintained by


Numotion.


        20. After using his new wheelchair for several weeks on a full-time basis, James


started getting fevers and chills in January of 2018. James was injured on or about February


2018, in South Dakota, and sought treatment at Monument Health's wound care clinic for a


pressure injury to his right hip later determined to be caused by his new wheelchair as a direct

and proximate result of one or more of the Defendants' wrongful acts or omission or


commission.



        21. James relied on Numotion and tmsted it to properly inspect, test, adjust, assemble,


repair, and/or maintain his new wheelchair. Thus, after his injury in February 2018, James


continued working with Numotion while he, his family, and doctors tried to determine the cause


of his injury.

        22. On or about February 27, 2018, James and his family, for the first time realized


that there was pressure point on the bottom of the new wheelchair's cushion, which had caused




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an indentation mark on the bottom of the cushion directly below James's right hip, where the


pressure injury developed.


       23. After James, his family, and a wound-care nurse realized his new wheelchair was


the likely cause of his pressure injury, his family confronted Numotion. James's mother showed


the indentation mark on the bottom of the cushion to Numotion staff. In response, Numotion


made arrangements for specialists to be sent out from Daylight in Sioux Falls to assist Numotion


in resetting up the new wheelchair and making cushion adjustments.


       24. James and his family began to have reservations about Numotion and particularly


whether Numotion was adequately investigating the root cause of James's injury. In their search


for the root cause, James and his family had pressure mapping done on the new wheelchair by an


independent third party, Lifescape, in October of 2018. James could not see Lifescape sooner


because he was on bed rest from February to August of 2018.


       25. After the pressure mapping was done, Lifescape staff immediately noticed


"hammocking" issues associated with obvious improper assembling, adjusting, inspecting,


and/or testing of the new wheelchair.


       26. Despite his reservations about Numotion, James continued working with


Numotion until the fall of 2018 when Numotion communicated with James regarding an

appointment with a Sunrise representative.


       27. Since his injury, James has returned to using his old wheelchair, the Quickie GT

and his new wheelchair, the Quickie 5R remains stored in his garage. James simply does not


trust the Quickie 5R wheelchair anymore.


       28. As a direct and proximate result of Defendants wrongful acts of commission and


omission, James incurred several surgeries, was required to be on full time bed rest for several




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months with an open wound. Further, James almost died following one of the surgeries and had


to be resuscitated. In addition, James lost a portion of his right buttocks causing a permanent


loss and now has trouble bathing and toileting due to balance issues.


          29. James will require ongoing issues and medical treatments as a result of this injury.


          30. This injury has now impacted James's ability to sleep. In fact, James must set an


alarm roughly every 3 hours while he is sleeping to wake up, remind himself to adjust his body,

and actually adjust his body to avoid a return of the pressure sore in the same location.


                                 COUNT ONE—NEGLIGENCE

          31. James incorporates the allegations in the preceding paragraphs as if fully set forth

herein.


          32. At all relevant times, Defendants owed James a duty to use reasonable care.


          33. At all relevant times, Defendants breached their duty of reasonable care through


acts of omission or commission, which collectively and severally, constituted negligence, and


which were a direct and proximate cause of the pressure injury.


          34. Defendants' negligence includes, but is not limited to:


             a. Failing to inspect and/or test to insure that the Quickie 5R and its component parts


                 were in safe working order prior to use on a full time basis by James;


             b. Failing to inspect and/or test to insure that the Quickie 5R's seat cushion was


                 adequately secured to the chair to prevent hammocking;


             c. Failing to conduct pressure mapping of the Quickie 5R to ensure there were no


                 pressure point issues concerning use of the wheelchair on a full-time basis;


             d. Failing to use reasonable care in recognizing these acts of omissions and


                 commission at subsequent visits to Numotion's Rapid City facility;



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             e. Failing to appropriately warn James of the dangers and risks of hazard associated


                 with using the Quickie 5R on a full-time basis as sold, distributed, prepared,

                 inspected, assembled, tested, and/or maintained by Defendants;


             f. Failing to adequately assist James in the safe operation of the Quickie 5R on a

                 full-time basis as sold, distributed, prepared, inspected, assembled, tested, and/or


                 maintained by Defendants.


          35. The resulting injuries caused proximately and directly by Defendants' negligent

acts of commission and omission caused immediate and severe injuries to James, which nearly


cost him his life as well as long term damages, which he will live with the rest of his life.

          36. As a result of Defendants' negligent and reckless acts and omissions, James


sustained, and will continue to sustain into the future, injuries and damages, including, but not


limited to personal injuries which require on-going medical treatment, care, and services; mental


anguish; emotional distress; post-traumatic stress; pain and suffering; care-taking expenses; loss


of earnings; loss of earning capacity; and loss of enjoyment of life.


          37. At all times relevant to the claims in this action, Defendants' employees and/or


agents were acting within the course and scope of their employment and/or agency with


Defendants. Therefore, pursuant to the doctrine ofrespondeat superior, Defendants are liable for


the negligence of their employees and/or agents.


          38. James is entitled to special damages to include an award of his past and future


medical expenses, together with prejudgment interest and general damages from Defendants.


          COUNT TWO - NEGLIGENT HIMNG, TRAINING, SUPERVISION, AND
                                            RETENTION

          39. James incorporates the allegations in the preceding paragraphs as if fully set forth

herein.



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          40. Defendants owed James a duty to use reasonable care in the hiring, training,


supervision, and retention of their employees and/or agents.


          41. Defendants breached that duty of reasonable care to James through acts of


omission and commission, which collectively and severally, constitute negligence. Defendants'


negligent acts and omissions include, but are not limited to: failing to use reasonable care when


hiring, training, supervising, and retaining Defendants' employee and/or agents who sold,


distributed, prepared, inspected, assembled, tested, and/or maintained the Quickie 5R wheelchair


delivered to James by Defendants.


          42. Defendants' employees and/or agents were acting within the course and scope of


their employment and/or agency with Defendants. Therefore, pursuant to the doctrine of


respondeat superior, Defendants are liable for the negligence of their employees and/or agents.


          43. As a direct and proximate result of all those negligent acts, James suffered, and


continues to suffer, damages to be proven at trial, including, but not limited to personal injuries


which require on-going medical treatment, care, and services; mental anguish; emotional


distress; post-traumatic stress; pain and suffering; care-taking expenses; loss of earnings; loss of


earning capacity; and loss of enjoyment of life.


   COUNT THREE - NEGLIGENT ASSEMBLY AND NEGLIGENT MAINTENANCE

          44. James incorporates the allegations in the preceding paragraphs as if fully set forth


herein.


          45. Defendants assembled and/or maintained the Quickie 5R wheelchair and/or its

component parts which were used by James.


          46. Defendants knew or should have known that Numotion customers, such as James,


would rely on the Quickie 5R for safe use and mobility. Defendants knew or should have known




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that, when providing customers like James with a new wheelchair, if they selected an inadequate


wheelchair, failed to assemble the wheelchair properly, or failed to adequately maintain the


wheelchair, the Numotion customers such as James who were provided said new wheelchair


would be at risk of injury.

          47. Defendants were negligent in among other things:


             a. Selecting a wheelchair, the Quickie 5R, which was improper and/or inadequate


                 for its intended use by James;

             b. Failing to assemble and/or maintain the Quickie 5R and/or its component parts in

                 accordance with regulatory and/or industry standards.


          48. Defendants' employees and/or agents were acting within the course and scope of


their employment and/or agency with Defendants. Therefore, pursuant to the doctrine of


respondeat superior, Defendants are liable for the negligence of their employees and/or agents.


          49. As a direct and proximate result of all the negligent actions and omissions


enumerated above, James suffered, and continues to suffer, damages to be proven at trial,


including, but not limited to personal injuries which require on-going medical treatment, care,


and services; mental anguish; emotional distress; post-traumatic stress; pain and suffering; care-


taking expenses; loss of earnings; loss of earning capacity; and loss of enjoyment of life.


                              COUNT FOUR - PRODUCT LIABILITY

          50. James incorporates the allegations in the preceding paragraphs as if fully set forth


herein.


          51. Defendants are engaged in the business of selling, delivering, assembling,


inspecting, testing, adjusting, repairing, and/or maintaining wheelchairs such as the Quickie 5R.


          52. The wheelchairs Defendants sell, deliver, assemble, inspect, test, adjust, repair,




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and/or maintain are expected to reach their users or customers, including James, without


substantial change in the condition in which they are sold.


       53. Defendants designed, produced, manufactured, constructed, assembled, sold,


leased, delivered, inspected, tested, adjusted, repaired, maintained, and/or substantially modified


the Quickie 5R wheelchair and/or its component parts through their employees and/or agents in

early 2017.


       54. The Quickie 5R and/or its component parts were defective and unreasonably


dangerous because Defendants failed to provide an adequate warning or instruction associated


with James's use of the Quickie 5R on a full-time basis as delivered, assembled, inspected,


tested, adjusted, repaired, and/or maintained by Defendants.


       55. The Quickie 5R and/or its component parts were defective and unreasonably


dangerous because when the Quickie 5R left the control of Defendants, it did not conform to


express representations made by Defendants with respect to its character, quality, and/or safety.


       56. The Quickie 5R and/or its component parts were defectively sold, assembled,


and/or supplied by Defendants and were unreasonably dangerous.


       57. Defendants knew, or in the exercise of ordinary care, should have known of the


unreasonably dangerous defects with the Quickie 5R and/or its component parts as delivered,


assembled, inspected, tested, adjusted, repaired, and/or maintained by Defendants.


       58. James used the Quickie 5R and/or its components parts for its intended purpose,


assembly, and design.


       59. Despite James using the Quickie 5R for its intended purpose, assembly, and


design, the defective and unreasonably dangerous Quickie 5R and/or its component parts were


the direct and proximate cause of James's injuries and damages to be proven at trial, including,




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but not limited to personal injuries which require on-going medical treatment, care, and services;


mental anguish; emotional distress; post-traumatic stress; pain and suffering; care-taking


expenses; loss of earnings; loss of earning capacity; and loss of enjoyment of life.


                           COUNT FIVE - PRODUCT LIABILITY
                                (Supplier/Distributor/Assembler)

       60. Defendants are engaged in the business of selling, delivering, supplying,


distributing, assembling, inspecting, testing, adjusting, repairing, and/or maintaining wheelchairs


such as the Quickie 5R.

       61. The wheelchairs Defendants sell, deliver, supply, distribute, assemble, inspect,


test, adjust, repair, and/or maintain are expected to reach their users or customers, including


James, without substantial change in the condition in which they are sold.


       62. Defendants are suppliers, distributors, and/or assemblers of the Quickie 5R and/or


its component parts. Defendants sold, distributed, leased, prepared, packaged, labeled, and/or


otherwise participated in placing the Quickie 5R and/or its component parts in the stream of

business and/or installed, repaired, tested, adjusted, assembled, and/or maintained the Quickie 5R


and/or its component parts.


       63. Defendants were negligent in selling, distributing, leasing, preparing, packaging,


labelling, installing, testing, adjusting, assembling, repairing, and/or maintaining the Quickie 5R

and/or its component parts.


       64. The Quickie 5R and/or its component parts did not conform to representations


Defendants made when it left their control.


       65. Defendants were further negligent because Defendants failed to provide an


adequate warning or instruction to James associated with James's use of the Quickie 5R on a


full-time basis as delivered, assembled, inspected, tested, adjusted, repaired, and/or maintained


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by Defendants.


       66. The Quickie 5R and/or its component parts were defectively sold, assembled,


and/or supplied by Defendants and were unreasonably dangerous.


       67. Defendants knew, or in the exercise of ordinary care, should have known of the


unreasonably dangerous defects with the Quickie 5R and/or its component parts as delivered,


assembled, inspected, tested, adjusted, repaired, and/or maintained by Defendants.


       68. James used the Quickie 5R and/or its component parts for its intended purpose,


assembly, and design.


       69. Despite using the Quickie 5R and/or its component parts for its intended purpose,


assembly, and design, as a direct and proximate result of Defendants' actions and inactions,


James suffered injuries and damages to be proven at trial, including, but not limited to personal


injuries which require on-going medical treatment, care, and services; mental anguish; emotional


distress; post-traumatic stress; pain and suffering; care-taking expenses; loss of earnings; loss of


earning capacity; and loss of enjoyment of life.


                            COUNT SIX - PRODUCT LIABILITY
                                    (Strict Liability)

       70. Defendants are engaged in the business of selling, delivering, supplying,


distributing, assembling, inspecting, testing, adjusting, repairing, and/or maintaining wheelchairs


such as the Quickie 5R.

       71. The wheelchairs Defendants sell, deliver, supply, distribute, assemble, inspect,


test, adjust, repair, and/or maintain are expected to reach their users or customers, including


James, without substantial change in the condition in which they are sold.


       72. Defendants are suppliers, distributors, and/or assemblers of the Quickie 5R and/or


its component parts. Defendants sold, distributed, leased, prepared, packaged, labeled, and/or


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otherwise participated in placing the Quickie 5R and/or its component parts in the stream of

business and/or installed, repaired, tested, adjusted, assembled, and/or maintained the Quickie 5R


and/or its component parts.


       73. The Quickie 5R and/or its component parts did not conform to representations


Defendants made when it left their control.


       74. Defendants failed to provide an adequate warning or instruction to James


associated with James's use of the Quickie 5R on a full-time basis as delivered, assembled,


inspected, tested, adjusted, repaired, and/or maintained by Defendants.


       75. The Quickie 5R and/or its component parts were defectively sold, assembled,


and/or supplied by Defendants and were unreasonably dangerous.


       76. Defendants knew, or in the exercise of ordinary care, should have known of the


unreasonably dangerous defects with the Quickie 5R and/or its component parts as delivered,


assembled, inspected, tested, adjusted, repaired, and/or maintained by Defendants.


       77. James used the Quickie 5R and/or its components parts for its intended purpose,


assembly, and design.


       78. Despite using the Quickie 5R and/or its component parts for its intended purpose,


assembly, and design, as a direct and proximate result of his use of the Quickie 5R and/or its


component parts, James suffered injuries and damages to be proven at trial, including, but not


limited to personal injuries which require on-going medical treatment, care, and services; mental


anguish; emotional distress; post-traumatic stress; pain and suffering; care-taking expenses; loss


of earnings; loss of earning capacity; and loss of enjoyment of life.


       79. As the manufacturers, designers, sellers, suppliers, distributors, and/or assemblers


of the Quickie 5R and/or its component parts, Defendants are strictly liable to James for all



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injuries and damages James suffered as a result of his use of the Quickie 5R and/or its


component parts.


       WHEREFORE, Plaintiff James E. Vollmer respectfully prays for damages against

Defendants as follows:


       1. For compensatory, general, special, economic, and noneconomic damages in an


amount that the jury deems just and proper under the circumstances;


       2. For prejudgment and post-judgment interest;


       3. For Plaintiffs' costs and disbursements herein;


       4. For exemplary or punitive damages; and


       5. For such other and further relief as the court deems just and proper.


                                         JURY DEMAND

       Plaintiffs hereby demand a jury trial on all issues of fact so triable.

                    _<^
       Dated this 3D ' day of December, 2020.


                                            LYNN, JACKSON, SHULTZ & LEBRUN, P.C.



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JS 44 (Rev 10/20) CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS,                                                                                            DEFENDANTS ^^ ^}^ ^ ^bl(HI ^
                          ^6um6S^. Vainer                                                                                              ^' A-^-^io^o"^ ^ ^bn
    (b) County of Residence of First Listed Plaintiff IA//,(/JY|C                                             County of Residence of First Listed Defendant •|-^U]Y/i| ^flflffi^l'l• S^
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
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                                                                                                                      THE TRACT OF LAND iNV'OLVED"'

    (c) Attorneys (Firm ffapie, Address, and Telephone Number)                                                 Attorneys (If Known)

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II. BASIS OF JURISDICTION (Place an "X" In One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X "mOneBoxforPlamllff
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Dl     U.S. Government                I]3 Federal Question                                                                 PTF DEF PTF DEF
          Plaintiff                             (U.S. Govemmenl Nol a Party)                         Citizen of This State [3 1 D 1 Incorporated or Principal Place [_] 4 |_|4
                                                                                                                                          of Business In This State

Q 2 U.S. Government                           Diversity                                              Citizen of Another State        ]I 2 || 2 Incorporated am/ Principal Place ||
          Defendant                             (indicate Cillzenshlp ofPanles In Hem III)                                                            of Business In Another State

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IV. NATURE OF SUIT (place an "X" In One Box Onlv)                                                                                        Click here for; Nature of Suit Code Descriptions.
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                                                                                                                                            3   422 Appeal 28 USC 158
                                                                                                                                                423 Withdrawal
                                                                                                                                                    28 USC 157
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                                                                                                                                                                                 376QuiTam(31USC
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       & Enforcement of Judgment!          Slander                           Personal Injury                                                    820 Copyrights                   430 Banks and Banking
   151 Medicare Act               II 330 Federal Employers'                  Product Liability                                                  830 Patent                       450 Commerce
   152 Recovery of Defaulted               Liability                 II 368 Asbestos Personal                                                   835 Patent - Abbreviated         460 Deportation
        Student Loans             I I 340 Marine                              Injury Product                                                        New Drug Application         470 Racketeer Influenced and
        (Excludes Veterans)       |_J 345 Marine Product                      Liability                                                         840 Trademark                        Corrupt Organizations
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       of Veteran's Benefits      n 350 Motor Vehicle                n 370 Other Fraud               _|710 Fair Labor Standards                     Actof2016                        (15 USC 1681 or 1692)
   160 Stockholders' Suits        D 355 Motor Vehicle                [^ 371 Truth in Lending                Act                                                                  485 Telephone Consumer
    190 Other Conhncl                      Product Liability         Q 380 Other Personal            _^20 Labor/Management                                                           Protection Act
    195 Conh-act Product Liability Q 360 Other Personal
    196 Franchise                          Injury
                                     I 362 Personal Injury -
                                                                             Property Damage
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                                                                             Product Liability
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                                           Medical Malpractice                                              Leave Act                           864 SSID Title XVI               890 Other Stahitoiy Actions
      BBSAIti^'RQBjKKraS                                               ITOtlSONERiEETmOtjS            J 790 Other Labor Litigation              865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:              _| 791 Employee Retirement                                                  893 Environmental Matters
    220 Foreclosure                     441 Voting                      I 463 Alien Detainee                Income Security Act                                                  895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                ^510 Motions to Vacate                                                Q 870 Taxes (U.S. Plaintiff              Act
    240 Torts to Land                   443 Housing/                         Sentence                                                               or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations           Q 530 General                                                         Q 871IRS—Third Party                 899 Administrative Procedure
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                                             Employment                  Other:                         462 Nahu-alizarion Application                                               Agency Decision
                                     [I 446 Amer. w/Disabilities         540 Mandamus & Other           465 Other Immigration                                                    950 Constitutionality of
                                             Other                       550 Civil Rights                   Actions                                                                  Stole Statutes
                                     II 448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V, ORIGIN (Place an "X" in One Box Only)
    1 Original |—12 Removed from
      Proceeding State Court
                                                          D          Remanded from I—I 4 Reinstated or I—] 5 Transferred from
                                                                     Appellate Court Reopened Another District
                                                                                                                                                            6 Multidistrict
                                                                                                                                                                  Litigation -
                                                                                                                                                                                            Multidistrict
                                                                                                                                                                                            Litigation -
                                                                                                                                (specify)                         Transfer                  Direct File
                                          |Cite the U.S. Cmil.Jijtatu.te under whjgh yplj.are filing/flo not cite Jiirtsiliclional slalules unless iliversity):
                                                                              . \^'^2-(cL\n\
VI. CAUSE OF ACTION
                                          Brief description of ca^e: ,< , „<
                                    ^{/Ol&Ml^TS L^tih^ &\ACJ lAtd^ftAACt CU\AZ( /^l^lNLvA- i\^ .%-n\9^ I'LMLI^^
VII. REQUESTED IN D CHECK IF THIS IS A CLASS ACTION ^ DEMAND                     CHECK YBS only if demanded in'Somplaint:
      COMPLAINT: UNDER RULE 23, F.R.Cv.P.                                        JURY DEMAND: jg]Yes DNO
VIII. RELATED CASE(S)
                                             (See Inslniclmns):
      IF ANY                                                          JUDGE                                                                     DOCKET NUMBER




        ^
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD

     l^/3of^^-^                                                              i>^ /l^[A^AA
             SE ONLY
 FOR 0]fncE Os

    RECEIPTS                      AMOUNT                                     APPLYING IFP                                      JUDGE                               MAG. JUDGE
